Case 2:22-cv-00125-JRG Document 422 Filed 01/04/24 Page 1 of 7 PageID #: 24218




                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



 ENTROPIC COMMUNICATIONS, LLC,                                Civil Action No. 2:22-cv-00125-JRG

         Plaintiff                                               JURY TRIAL DEMANDED

            v.

 CHARTER COMMUNICATIONS, INC.,

         Defendant.




        CORRECTED JOINT MOTION TO REDACT TRANSCRIPT [DKT. 405]

I.     INTRODUCTION

       Defendant      Charter   Communications,     Inc.   (“Charter”)   and   Plaintiff   Entropic

Communications, LLC hereby respectfully request the Court to redact portions of three lines of

the December 8, 2023 Pretrial Hearing Transcript (Dkt. 405) (“Transcript”).

II.    LEGAL STANDARD

       “[W]here the parties request redaction of confidential financial and business information

discussed at the hearing, the court will grant the motion.” Personal Audio, LLC, v. Apple, Inc.,

No. 9:09-cv-00111-RC, Dkt. 75 (E.D. Tex. Feb. 22, 2010). “[P]arties may redact only those

portions [of a transcript] actually containing (not merely alluding to) non-public information the

release of which would cause commercial harm to an entity or person.” Godo Kaisha IP Bridge 1

v. Broadcom Ltd., No. 2:16-cv-00134-JRG-RSP, Dkt. 291 (E.D. Tex. Apr. 28, 2017).




                                                1
Case 2:22-cv-00125-JRG Document 422 Filed 01/04/24 Page 2 of 7 PageID #: 24219




III.    ARGUMENT

        Good cause exists for the redactions as these contain highly confidential and sensitive

business information regarding Charter’s business decisions. Specifically, the parties seek to

redact three portions of the Transcript that contain non-public information—

        —the release of which would cause commercial harm to Charter. The parties seek to

redact the following:

 Page(s):Line(s)                                     Proposed Redacted Text

 9:7

 9:16

 10:2


        Further, because the parties seek to redact three small, discreet portions of the Transcript,

the redaction of this material will not impede the understanding of the rulings of the Court. A

proposed redacted version of the hearing transcript is attached as Exhibit A.

IV.     CONCLUSION

        Accordingly, the parties respectfully request that the Court grant their motion to redact

portions of the December 8, 2023 transcript (Dkt. 405).




                                                 2
Case 2:22-cv-00125-JRG Document 422 Filed 01/04/24 Page 3 of 7 PageID #: 24220




 Dated: December 29, 2023            Respectfully submitted,

                                     /s/ Daniel Reisner by permission Elizabeth Long
                                     Deron R. Dacus
                                     State Bar No. 00790553
                                     The Dacus Firm, P.C.
                                     821 ESE Loop 323, Suite 430
                                     Tyler, TX 75701
                                     Phone: (903) 705-1117
                                     Fax: (903) 581-2543
                                     Email: ddacus@dacusfirm.com

                                     Daniel L. Reisner
                                     David Benyacar
                                     Elizabeth Long
                                     Albert J. Boardman
                                     Melissa Brown
                                     ARNOLD & PORTER KAYE SCHOLER LLP
                                     250 West 55th Street
                                     New York, New York, 10019-9710
                                     Telephone: (212) 836-8000
                                     Email: daniel.reisner@arnoldporter.com
                                     Email: david.benyacar@arnoldporter.com
                                     Email: elizabeth.long@arnoldporter.com
                                     Email: albert.boardman@arnoldporter.com
                                     Email: melissa.brown@arnoldporter.com

                                     Marc A. Cohn
                                     Amy L. DeWitt
                                     William Louden
                                     William O. Young
                                     Thomas Carr
                                     Natalie Steiert
                                     ARNOLD & PORTER KAYE SCHOLER LLP
                                     601 Massachusetts Avenue NW
                                     Washington, DC 20001-3743
                                     Telephone: (202) 942-5000
                                     Email: marc.cohn@arnoldporter.com
                                     Email: amy.dewitt@arnoldporter.com
                                     Email: william.young@arnoldporter.com
                                     Email: thomas.carr@arnoldporter.com
                                     Email: natalie.steiert@arnoldporter.com

                                     Zachary A. Nemirovsky
                                     ARNOLD & PORTER KAYE SCHOLER LLP
                                     3000 El Camino Real #500,
                                     Palo Alto, California 94304
                                      3
Case 2:22-cv-00125-JRG Document 422 Filed 01/04/24 Page 4 of 7 PageID #: 24221




                                     Telephone: (650) 319-4500
                                     Email: zachary.nemirovsky@arnoldporter.com

                                     Attorneys for Defendant
                                     Charter Communications, Inc.

                                     /s/ Katherine Allor
                                     James Shimota
                                     Jason Engel
                                     George Summerfield
                                     Katherine L. Allor
                                     Samuel P. Richey
                                     Ketajh Brown
                                     K&L GATES LLP
                                     70 W. Madison Street, Suite 3300
                                     Chicago, IL 60602
                                     Tel: (312) 807-4299
                                     Fax: (312) 827-8000
                                     jim.shimota@klgates.com
                                     jason.engel@klgates.com
                                     george.summerfield@klgates.com
                                     katy.allor@klgates.com
                                     samuel.richey@klgates.com
                                     ketajh.brown@klgates.com

                                     Nicholas F. Lenning
                                     Courtney Neufeld
                                     K&L GATES LLP
                                     925 Fourth Avenue, Suite 2900
                                     Seattle, WA 98104-1158
                                     Tel: (206) 623-7580
                                     Fax: (206) 623-7022
                                     nicholas.lenning@klgates.com
                                     courtney.neufeld@klgates.com

                                     Darlene Ghavimi
                                     Matthew A. Blair
                                     K&L GATES LLP
                                     2801 Via Fortuna, Suite 650
                                     Austin, Texas 78746
                                     Tel: (512) 482-6800
                                     darlene.ghavimi@klgates.com
                                     matthew.blair@klgates.com

                                     Christina N. Goodrich
                                     Connor J. Meggs

                                      4
Case 2:22-cv-00125-JRG Document 422 Filed 01/04/24 Page 5 of 7 PageID #: 24222




                                     K&L GATES LLP
                                     10100 Santa Monica Blvd., 8th Floor
                                     Los Angeles, CA 90067
                                     Tel: (310) 552-5031
                                     Fax: (310) 552-5001
                                     christina.goodrich@klgates.com
                                     connor.meggs@klgates.com

                                     Peter E. Soskin
                                     K&L GATES LLP
                                     Four Embarcadero Center, Suite 1200
                                     San Francisco, CA 94111
                                     Tel: (415) 882-8046
                                     Fax: (415) 882-8220
                                     peter.soskin@klgates.com

                                     Alan Littmann
                                     Michael Pieja
                                     Doug Winnard
                                     Jennifer Hartjes
                                     Shaun Zhang
                                     GOLDMAN ISMAIL TOMASELLI
                                     BRENNAN & BAUM, LLP
                                     200 South Wacker Drive. 22nd Floor
                                     Chicago, IL 60606
                                     Tel: (312) 681-6000
                                     Fax: (312) 881-5191
                                     alittmann@goldmanismail.com
                                     mpieja@goldmanismail.com
                                     dwinnard@goldmanismail.com
                                     jhartjes@goldmanismail.com
                                     szhang@goldmanismail.com

                                     Wesley Hill
                                     Texas Bar No. 24032294
                                     Andrea Fair
                                     Texas Bar No. 24078488
                                     Charles Everingham, IV
                                     Texas Bar No. 787447
                                     WARD, SMITH & HILL, PLLC
                                     1507 Bill Owens Pkwy
                                     Longview, TX 75604
                                     Tel: (903) 757-6400
                                     wh@wsfirm.com
                                     andrea@wsfirm.com
                                     ce@wsfirm.com

                                      5
Case 2:22-cv-00125-JRG Document 422 Filed 01/04/24 Page 6 of 7 PageID #: 24223




                                     Attorneys For Plaintiff
                                     Entropic Communications, LLC




                                      6
Case 2:22-cv-00125-JRG Document 422 Filed 01/04/24 Page 7 of 7 PageID #: 24224
